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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                              COLUMBIA DIVISION

UNITED STATES OF AMERICA                        )       CR. NO. 3:20-00727-MGL
                                                )
       v.                                       )
                                                )
                                                )
KEVIN MARSH                                     )



                       NOTICE OF WITHDRAWAL OF FILING

     The Government hereby withdraws its previously filed motion to seal (Dkt. No. 49).


                                         Respectfully submitted,
                                         M. RHETT DeHART
                                         ACTING UNITED STATES ATTORNEY


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